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               10
                          Attorney for Plaintiff
               11         Lilith Games (Shanghai) Co. Ltd.

               12
                                                         UNITED STATES DISTRICT COURT
               13
                                                        NORTHERN DISTRICT OF CALIFORNIA
               14
               15                                             SAN FRANCISCO DIVISION

               16
               17         Lilith Games (Shanghai) Co. Ltd.,              Case No. 15-cv-01267-SC

               18                       Plaintiff,                       DECLARATION OF WANG XINWEN IN
                                                                         SUPPORT OF PLAINTIFF’S MOTION
               19                v.                                      FOR A PRELIMINARY INJUNCTION

               20         uCool, Inc. and uCool Ltd.,                    [Fed. R. Civ. P. 65]

               21                       Defendants.                      Date:         June 12, 2015
                                                                         Time:         10:00 a.m.
               22                                                        Courtroom:    1, 17th Floor
                                                                         Before:       The Hon. Samuel Conti
               23
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 Baker & McKenzie LLP
Two Embarcadero Center                                                                              CASE NO. 15-cv-01267-SC
       11th Floor                                                                                  Declaration of Wang Xinwen
San Francisco, CA 94111
  Tel: 1 415 576 3000     6730966-v1\SFODMS
                  1
                  2               1.     My name is Wang Xinwen, and I am over the age of twenty-one (21) years, of sound

                  3       mind, and fully competent to testify in this cause.

                  4              2.      I founded Lilith Games (Shanghai) Co. Ltd. ("Lilith") in May 2013 for the purpose of
                  5
                          developing games for mobile devices, such as iPhones and iPads. I am currently Lilith's CEO, and
                  6
                          in that role, I have personal knowledge of all of Lilith's game development efforts.             I am also
                  7
                          personally familiar with Lilith's distribution agreements and generally all other aspects of Lilith's
                  8
                  9       business operations. As a result, I have personal knowledge that all facts set forth in this declaration

               10         are true and correct.

               11                3.      At the time Lilith was founded in May 2013, Lilith began to develop the game Dao
               12         Ta Chuan Q! in Chinese (literally meaning "the legend of sword and tower") ("Sword and Tower").
               13
                          Lilith's employees authored approximately 240,000 lines of software code for the purpose of making
               14
                          Sword and Tower operational, and that code expresses Lilith's originally created works.
               15
                                 4.      Lilith owns Chinese copyright registrations for, among other things, the computer
               16
               17         software code embodied in Sword and Tower. True and correct copies of Lilith's Chinese registered

               18         copyrights in its computer software, along with an English translation, are attached hereto as Exhibit

               19         A.
               20
                                 5.      Lilith developed Sword and Tower through extensive effort and at great expense.
               21
                          Sword and Tower was first released in China in February 2014, through Apple's App Store. The
               22
                          game soon became immensely popular. By May 2014, Sword and Tower was named as China's top
               23
                          grossing iOS game, and by August 2014, Sword and Tower had become the number one game in all
               24
               25         of Asia. As of March 2015, the game has been downloaded over 29 million times through one

               26         distribution channel alone.

               27                6.      Based on Sword and Tower's initial success, Lilith developed plans to release Sword
               28
                          and Tower in other countries.     Specifically, Lilith entered into agreements with entities for the

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San Francisco, CA 94111                                                                                   Declaration of Wang Xinwen
  Tel: I 415 576 3000
                   1
                   2        distribution of Sword and Tower in Europe, Southeast Asia, Korea and Japan. Those agreements

                   3        grant the distributor the exclusive right to release Sword and Tower in their respective geographic

                   4        areas.
                   5
                                     7.    In addition to obtaining Chinese registered copyrights to protect its original works,
                   6
                            Lilith's employees also embedded a copyright declaration deep within Lilith's software code. Thus,
                   7
                            if the software code was copied, Lilith would be able to navigate to the embedded copyright
                   8
                   9        declaration and cause a pop-up screen to appear with the following: "LILITH GAMES ©."

                10                   8.    In August 2014, Lilith learned that uCool was distributing a game called Heroes

                11          Charge, which Lilith believed infringed upon Lilith's copyrights. But as Lilith has begun to release
                12          Sword and Tower in countries where Heroes Charge is also available, consumers have provided
                13
                            negative feedback concerning Lilith, accusing Lilith of infringing upon Heroes Charge. Comments
                14
                            from users of both games that disparage Lilith in this manner are damaging to Lilith's reputation as a
                15
                            game developer. True and correct copies of just some of the negative user comments directed at
                16
                17          Lilith are attached to this declaration as Exhibit B.

                18                   9.    Lilith's distributors have also expressed their concern and displeasure over uCool's

                19          distribution of Heroes Charge in their territories. The distributors have informed Lilith that uCool' s
                20
                            actions deprive them ofthe benefit of their bargain, i.e., exclusivity, and they have exerted pressure
                21
                            on Lilith to take necessary actions to prevent any further infringement of Lilith's copyrights by
                22
                            uCool. Further, Lilith has not been able to secure an exclusive distributor in the United States
                23
                            because of uCool's infringement. Indeed, distributors have declined Lilith's offers of exclusive
                24
                25          distributorship, citing uCool's release of Heroes Charge as defeating any exclusivity rights that

                26          would be granted under such an agreement. Without such an arrangement, Lilith cannot effectively

                27          distribute Sword and Tower in the United States.
                28


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San Francisco, CA 941 ( 1                                                                                  Declaration ofWang Xinwen
  Tel: I 415 576 3000
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                  3
                 4                 Under the laws of the United States, I declare under the penalty of perjury that the foregoing
                  5
                           is true and correct.
                  6


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                  7
                  8                                                             Wang Xinwen
                                                                                CEO, Lilith Games (Shanghai) Co., Ltd.
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       lith Fl oor                                                                                           CASE NO. 3:15-cv-1267
San Francisco, CA 94 111                                                                                  Declaration of Wang Xi nwen
  Tel: I 415 576 3000
